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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


     ALLYSON CALLOWAY,                                 Civil Action

                                 Plaintiff,            No. 2:22-cv-197-NBF

            v.

     BOROUGH OF PITCAIRN;
     MARGARET STEVICK;
     SCOTT FARALLY;
     BRENDAN LINEBARGER;
     WILLIAM GOOD; and
     NICK TURNER

                                 Defendants.

                               MOTION TO DISMISS

    AND NOW COMES William Good in his individual capacity, by and through his

counsel Shelley Rohrer, and Dennis Biondo Jr., Assistant Allegheny County Solicitors and

respectfully requests that Plaintiff’s Complaint be dismissed as to Defendant William

Good, and states in support thereof the following:

       1. Plaintiff has filed an Amended Complaint alleging civil rights claims against

          numerous defendants including this responding defendant, William Good, in

          his individual capacity (hereinafter Defendant Good) (ECF 14).

       2. The allegation contained in Plaintiff’s Complaint against Defendant Good

          arises from his filing the following charges against Plaintiff on January 19,

          2021: hindering prosecution (18 Pa.C.S. 5103 (a)(3)) and tampering with

          evidence (18 Pa.C.S. 4910 (1)). (ECF 14, ¶14d).


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       3. Plaintiff alleges one Count False Arrest and Malicious Prosecution against

          Defendant Good (ECF 14, ¶¶ 22-25).

       4. Plaintiff fails to state a claim against Defendant Good.

       5. Plaintiff has not properly pled a claim for False Arrest and Malicious

          Prosecution against Defendant Good.

       6. Plaintiff cannot sustain a claim for False Arrest and Malicious Prosecution

          against Defendant Good.

       7. Defendant Good is entitled to Qualified Immunity.

   WHEREFORE, Defendant Good respectfully requests that Plaintiff’s Complaint be

dismissed as to him pursuant to F.R.C.P 12(b).



                                         Respectfully submitted,

                                         /s/ Shelley Rohrer
                                         Shelley Rohrer
                                         Assistant County Solicitor
                                         Pa I.D. #317166

                                         /s/ Dennis Biondo Jr.
                                         Dennis Biondo Jr.
                                         Assistant County Solicitor
                                         Pa I.D. #307908

                                         ALLEGHENY COUNTY LAW DEPARTMENT
                                         300 Fort Pitt Commons Building
                                         445 Fort Pitt Boulevard
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                                         Dennis.BiondoJr@AlleghenyCounty.US



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                           CERTIFICATE OF SERVICE
      I hereby certify that a true and correct copy of the foregoing MOTION TO DISMISS

and PROPOSED ORDER were served by electronic filing upon the following:


                                  Mart Harris, Esq.
                                   500 Grant Street
                                      Suite 2900
                                 Pittsburgh, PA 15219
                                    mh@tlawf.com
                                (Counsel for Plaintiff)


                              Jordan P. Shuber, Esquire
                Dillon, McCandless, King, Coulter & Graham, L.L.P.
                            128 West Cunningham Street
                                   Butler, PA 16001
                                 jshuber@dmkcg.com
                    (Counsel for Defendants Borough of Pitcairn,
        Margaret Stevick, Scott Farally, Brendan Linebarger, and Nick Turner)




                                               /s/ Shelley Rohrer
                                               Shelley Rohrer
                                               Assistant County Solicitor


Dated: March 11, 2022




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

            ALLYSON CALLOWAY,                                   Civil Action

                          Plaintiffs,                           No. 2:22-CV-197

                   v.

            BOROUGH OF PITCAIRN, MARGARET
            STEVICK, SCOTT FARALLY, BRENDAN
            LINEBARGER, WILLIAM GOOD, and
            NICK TURNER

                          Defendants.


                          CERTIFICATE OF CONFERRAL
       As per this Court’s Order on Rule12(b) motions, undersigned Counsel hereby

certifies that the parties have conferred and made a good faith effort to determine whether

the identified pleading deficiencies properly may be cured by amendment as required by

this Courts Practices and Procedures.

                                   Respectfully submitted,

                                   /s/Shelley Rohrer
                                   Shelley Rohrer
                                   Assistant County Solicitor
                                   Pa I.D. #317166

                                   /s/ Dennis Biondo Jr.
                                   Dennis Biondo Jr.
                                   Assistant County Solicitor
                                   Pa I.D. #307908

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                                   Counsel for Defendant William Good
